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   8

   9                       UNITED STATES DISTRICT COURT

  10                FOR THE CENTRAL DISTRICT OF CALIFORNIA

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  12    LAKE HEMET MUNICIPAL                   Case No. EDCV 20-881-MWF (SPx)
        WATER DISTRICT,                        Judge: The Hon. Michael W. Fitzgerald
  13
                    Plaintiffs,                ORDER GRANTING
  14
                                               STIPULATION OF DISMISSAL
              vs.                              WITH PREJUDICE
  15

  16    THE DOW CHEMICAL
        COMPANY, et al.
  17

  18                Defendants.
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                            ORDER GRANTING STIPULATION OF DISMISSAL
                                     (EDCV 20-881-MWF (SPx))
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   1         The Court has reviewed the parties’ Stipulation requesting dismissal with
   2   prejudice of this matter. For good cause shown, the Court ORDERS the Stipulation
   3   of Dismissal with Prejudice is GRANTED.
   4         IT IS HEREBY ORDERED.
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   6   Dated: November 16, 2021
                                             MICHAEL W. FITZGERALD
   7                                         United States District Judge
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                            ORDER GRANTING STIPULATION OF DISMISSAL
                                     (EDCV 20-881-MWF (SPx))
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